                                  NO. 12-23-00305-CR

                          IN THE COURT OF APPEALS

              TWELFTH COURT OF APPEALS DISTRICT

                                     TYLER, TEXAS

JACK CODY RABURN,                                §      APPEAL FROM THE 392ND
APPELLANT

V.                                               §      JUDICIAL DISTRICT COURT

THE STATE OF TEXAS,
APPELLEE                                         §      HENDERSON COUNTY, TEXAS

                                  MEMORANDUM OPINION

       Jack Cody Raburn appeals his convictions for attempted capital murder of a peace officer,
aggravated assault of a public servant with a deadly weapon, manufacture or delivery of a
controlled substance, unlawful possession of a firearm by a felon, and evading arrest or detention
with a motor vehicle. In two issues, Appellant asserts the trial court erred in overruling his
motion to suppress and failing to issue findings of fact and conclusions of law. We affirm.


                                         BACKGROUND
       On March 4, 2021, Henderson County Sheriff’s Deputy Joshua Shoemake initiated a
traffic stop on Appellant’s red Chevrolet pickup for making a wide turn and having an obscured
license plate. Appellant initially complied and pulled over. When Shoemake exited his vehicle,
Appellant sped off. Shoemake initiated a pursuit and called for backup while Appellant drove
erratically, accelerated, decelerated, and turned off his headlights. Appellant even stopped in the
roadway, reversed, and crashed into Shoemake’s vehicle. Deputy Eduardo Gonzalez eventually
joined the pursuit. Appellant threw an object from the vehicle and slowed down enough to bail
from the vehicle while it was still moving. Gonzalez pursued Appellant on foot through a field
while Shoemake attempted to cut Appellant off with his vehicle. Appellant jumped over two
fences and then shot at Gonzalez, striking him through the thigh and ankle. Officers attended to
Gonzalez while Appellant continued to flee.
        Appellant’s abandoned truck contained 185 grams of methamphetamine and drug
paraphernalia. The truck was registered to Randy Freeman, who told officers that he sold his red
Chevrolet to Appellant three days earlier and provided Appellant’s address. At the same time,
officers learned that Appellant stole a white Ford Escape in Eustace and fled. Officers then went
to Appellant’s address, where they found the stolen Escape. They eventually observed Appellant
lying on the roof of a shed with a shotgun within arm’s reach. An officer climbed a ladder to
apprehend Appellant. However, when he helped Appellant to his feet, Appellant pulled away and
fell off the shed. Appellant continued to resist and kept his arms underneath his waist. The
officers struck Appellant to gain compliance and pulled a loaded pistol from Appellant’s pocket.
Appellant was later transported to the Henderson County Sheriff’s Office for an interview with
Texas Ranger Michael Adcock and a Henderson County investigator.
        Appellant was eventually charged by indictment with attempted capital murder of a peace
officer, aggravated assault with a deadly weapon against a public servant, manufacture or
delivery of a controlled substance in an amount more than four grams but less than 200 grams,
theft of property, evading arrest with a motor vehicle, evading arrest with a prior conviction,
prohibited weapon, and two counts of unlawful possession of a firearm by a felon. Prior to trial,
Appellant filed a motion to suppress his recorded interview with Ranger Adcock. Following a
hearing, the trial court overruled his motion. 1
        At trial, the trial court granted the State’s motions to dismiss the theft, evading arrest with
a prior conviction, prohibited weapon, and one of the unlawful possession of a firearm by a felon
charges. Appellant pleaded “not guilty” to the remaining charges, and the case proceeded to a
jury trial.     Ultimately, the jury found Appellant “guilty” and sentenced Appellant to
imprisonment for ninety-nine years for attempted capital murder, twenty-five years for
aggravated assault, fifty years for manufacture or delivery of a controlled substance, fifty years
for unlawful possession of a firearm, and thirty years for evading arrest, along with a $10,000




        1
           The hearing had to be held in two parts because Ranger Adcock was on assignment at the Texas border at
the time of the initial hearing.


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fine. Appellant filed a motion for new trial, which was overruled by operation of law. This
appeal followed.


                         FINDINGS OF FACT AND CONCLUSIONS OF LAW
       In Appellant’s second issue, he contends the trial court erred in failing to file written
findings of fact and conclusions of law following the trial court’s denial of his motion to
suppress. On May 28, 2024, this Court abated and remanded this cause to the trial court with
instructions that the trial court make and file written findings of fact in accordance with Texas
Code of Criminal Procedure, Article 38.22, Section 6. The trial court filed findings of fact and
conclusions of law on June 24.        Therefore, Appellant’s second issue is now moot and is
overruled.


                                      MOTION TO SUPPRESS
       In his first issue, Appellant argues the trial court erred in overruling his motion to
suppress.    Specifically, he contends that his statements in the custodial interview were
involuntary because he was injured and mentally ill.
Standard of Review
       We review a trial court’s ruling on a motion to suppress under a bifurcated standard.
Hubert v. State, 312 S.W.3d 554, 559 (Tex. Crim. App. 2010); Carmouche v. State, 10 S.W.3d
323, 327 (Tex. Crim. App. 2000). A trial court’s decision to grant or deny a motion to suppress
generally is reviewed under an abuse of discretion standard. Crain v. State, 315 S.W.3d 43, 48
(Tex. Crim. App. 2010); Shepherd v. State, 273 S.W.3d 681, 684 (Tex. Crim. App. 2008). We
give almost total deference to a trial court’s determination of historical facts, especially if those
determinations turn on witness credibility or demeanor and review de novo the trial court’s
application of the law to facts not based on an evaluation of credibility and demeanor. Neal v.
State, 256 S.W.3d 264, 281 (Tex. Crim. App. 2008). At a suppression hearing, a trial court is the
exclusive trier of fact and judge of the witnesses’ credibility. Maxwell v. State, 73 S.W.3d 278,
281 (Tex. Crim. App. 2002). Accordingly, a trial court may choose to believe or to disbelieve all
or any part of a witness’s testimony. State v. Ross, 32 S.W.3d 853, 855 (Tex. Crim. App. 2000).
However, a trial court has no discretion in determining what the law is or applying the law to the




                                                 3
facts. State v. Kurtz, 152 S.W.3d 72, 81 (Tex. Crim. App. 2004). Thus, a failure by a trial court
to analyze or apply the law correctly constitutes an abuse of discretion. Id.Governing Law
          Under Texas Code of Criminal Procedure, Article 38.21, “[a] statement of an accused
may be used in evidence against him if it appears that the same was freely and voluntarily made
without compulsion[.]” TEX. CODE CRIM. PROC. ANN. art. 38.21 (West 2023); Oursbourn v.
State, 259 S.W.3d 159, 169 (Tex. Crim. App. 2008). A defendant may claim that his statement
was not freely and voluntarily made and, thus, may not be used as evidence against him because,
among other theories, the statement was obtained in violation of the Texas Confession Statute.
See Oursbourn, 259 S.W.3d at 169; see also TEX. CODE. CRIM. PROC. ANN. art. 38.22 §§ 2, 3
(West Supp. 2023).
          Pursuant to Article 38.22, Section 3, no oral statement made by an accused as a result of
custodial interrogation is admissible as evidence against him in any criminal proceeding unless
(1) an electronic recording is made of the statement, (2) prior to making the statement, but during
the recording, the accused is given a warning from the person to whom the statement is made
that, among other things, he has the right to terminate the interview at any time, and (3) the
accused knowingly, intelligently, and voluntarily waives any rights set out in the warning. See
TEX. CODE CRIM. PROC. ANN. art. 38.22 § 2(a)(5), 3(a).
          A confession is involuntary or coerced if the totality of the circumstances demonstrates
that the confessor did not make the decision to confess of his own free will. Vasquez v. State,
179 S.W.3d 646, 655 (Tex. App.—Austin 2005), aff’d, 225 S.W.3d 541 (Tex. Crim. App. 2007);
see Green v. State, 934 S.W.2d 92, 99 (Tex. Crim. App. 1996) (citing Arizona v. Fulminante,
499 U.S. 279, 285–86, 111 S. Ct. 1246, 1251–52, 113 L. Ed. 2d 302 (1991)). We determine
whether a confession was voluntary under the due process clause of the Fourteenth Amendment
by examining the totality of the circumstances surrounding its acquisition. Vasquez, 179 S.W.3d
at 655.
Analysis
          On appeal, Appellant contends he was coerced into making incriminating statements to
obtain medical treatment. He further claims that the Henderson County Sheriff’s Office had
“institutional knowledge that he was under mental health care.” As a result, Appellant asserts




                                                 4
that his statements during his custodial interview were not voluntary and the recording should
have been suppressed.
        At the suppression hearing, Appellant testified that he told officers he needed medical
attention and to go to the hospital prior to the interview. He further testified:

       A. I was scared for my life. I can’t breathe. I’m having trouble breathing, you know what I’m
       saying? Obviously, I need medical attention. I’m worried about my health.
       ...
       A. I was hurt. I mean, I was physically hurt. I was having trouble breathing. I know my ribs are
       broke. I'm having neck pain. I mean, I’m scared, you know.
       Q. Did you ask for medical attention from anybody at that point from the time you were
       magistrated until the time you started giving a statement?
       A. Anybody I was in contact with.
       Q. I’m sorry?
       A. Everybody I was in contact with.
       Q. And were you given medical attention at any time before you gave that statement?
       A. No, sir.


Appellant claimed a jailer told him that he “wasn’t getting nothing” until he confessed to buying
a red Chevrolet truck from Randy Freeman. He claims he responded that he “didn’t know what
they were talking about, and they shut the door” to the padded cell.
        During the recorded interview, Appellant did not complain that he could not breathe. He
mentioned three times that he believed his ribs were broken, but he did not request medical care.
On cross-examination, Appellant admitted never telling Ranger Adcock what the jailer told him.
He also admitted that Adcock never expressly withheld medical attention or promised medical
attention in exchange for his cooperation. Appellant acknowledged knowing what he was doing
when he waived his rights and spoke with Adcock, despite the pain in his ribs.
        Ranger Adcock testified that Appellant did not appear to be under duress during the
interview, did not appear to be in such physical pain or discomfort that it would have affected his
decision making, and did not appear to be having difficulty breathing during the interview as he
did not cough, wheeze, or gasp for air. Furthermore, if Adcock believed Appellant needed urgent
medical care, he would have secured medical attention. When confronted with an email stating,
“brief explanation of why mental illness/mental retardation are suspected,” Adcock claimed he
did not have that email during his interview, and he testified that Appellant did not appear to
have any intellectual disabilities.
        The trial court heard and observed the testimony of Appellant and Ranger Adcock and
listened to Appellant’s recorded statement. At the conclusion of the hearing, the trial court stated


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explicitly that it had to “make a credibility decision.”                Furthermore, in its findings of fact and
conclusions of law, the trial court made the following pertinent findings:
         2. While the Defendant did complain of pain in his ribs during his statement, he never requested or
         implied that he was in immediate need of medical attention. He never appeared, or sounded, to be
         in extreme pain, or in need of immediate medical treatment.

         3. Furthermore, any pain the defendant may have been suffering, did not appear to affect his
         ability to understand the warnings read to him by Ranger Adcock, nor did it appear that the
         defendant’s pain, if any, influenced his decision to waive his right to remain silent.

         4. The Defendant testified during the hearing on the Motion to Suppress that he was told by a
         jailer, after his arrest, that unless he admitted to being the driver of the red pic-up truck involved in
         these offenses, that he would be deprived of medical attention. As the sole judge of credibility of
         witnesses in such a hearing, the Court finds the Defendant’s testimony to not be credible.

We afford almost total deference to a trial court’s ruling when questions of historical fact turn on
credibility and demeanor. Ripkowski v. State, 61 S.W.3d 378, 381 (Tex. Crim. App. 2001)
(citing Guzman v. State, 955 S.W.2d 85, 89 (Tex. Crim. App. 1997)). The record supports the
trial court’s finding that Appellant’s testimony was not credible and that he waived his rights
freely, knowingly, intelligently, and voluntarily. See TEX. CODE CRIM. PROC. ANN. art. 38.22.
Therefore, the trial court did not abuse its discretion in overruling Appellant’s motion to
suppress. We overrule Appellant’s first issue.


                                                    DISPOSITION
         Having overruled Appellant’s first and second issues, we affirm the trial court’s
judgment.



                                                                            JAMES T. WORTHEN
                                                                               Chief Justice

Opinion delivered August 21, 2024.
Panel consisted of Worthen, C.J., Hoyle, J., and Neeley, J.




                                               (DO NOT PUBLISH)




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                                   COURT OF APPEALS

      TWELFTH COURT OF APPEALS DISTRICT OF TEXAS

                                           JUDGMENT

                                           AUGUST 21, 2024


                                         NO. 12-23-00305-CR


                                      JACK CODY RABURN,
                                            Appellant
                                               V.
                                      THE STATE OF TEXAS,
                                            Appellee


                                Appeal from the 392nd District Court
                    of Henderson County, Texas (Tr.Ct.No. CR21-0418-392)

                       THIS CAUSE came to be heard on the appellate record and briefs filed
herein, and the same being considered, it is the opinion of this court that there was no error in the
judgment.
                       It is therefore ORDERED, ADJUDGED, and DECREED that the
judgment of the court below be in all things affirmed, and that this decision be certified to the
court below for observance.
                    James T. Worthen, Chief Justice.
                    Panel consisted of Worthen, C.J., Hoyle, J., and Neeley, J.
